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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 JULIAN MARCUS RAVEN,

                        Plaintiff,

                        v.                         Case No. 22-cv-2809 (CRC)

 KIM SAJET, in her capacity as National
 Portrait Gallery Director,

                        Defendant.

                                     OPINION AND ORDER

       Plaintiff Julian Marcus Raven, proceeding pro se, alleges that Defendant Kim Sajet, the

Director of the Smithsonian Institution’s National Portrait Gallery (“NPG”), violated the First

Amendment by preventing him from reading or interacting with her Twitter account, which he

claims is a public forum used to share and discuss information related to the NPG. Sajet moves to

dismiss Raven’s complaint, arguing, among other things, that the First Amendment does not apply

here because her use of Twitter is not state action. This fall, the United States Supreme Court will

hear two cases concerning whether a public official’s activity on a personal social media account

constitutes state action. In the interest of promoting judicial economy and avoiding unnecessary

discovery and litigation, the Court will deny Sajet’s motion to dismiss without prejudice and stay

the case pending further guidance from the Supreme Court.

       Raven alleges that Sajet uses her Twitter account—@KimSajet—as a public forum that

“has become an important channel for news about the government run National Portrait Gallery.”

Compl. ¶ 36; see also id. ¶¶ 1, 3. Specifically, he claims, “[Sajet] uses the account to make formal

Smithsonian announcements, report on meetings, upcoming shows and general Smithsonian

information etc.” Id. ¶ 3. As examples of these purported uses, Raven’s complaint references

tweets by Sajet that discuss upcoming exhibits and events at the NPG. Id. at 5–6, 14–15. One
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such example is Sajet’s August 23, 2022 tweet that “Portraiture is powerful @smithsoniannpg

#PortraitofaNation #Portraitgala #myNPG,” which included a link to an article announcing that

Hilary Clinton and Alicia Keys would be presenters at the 2022 National Portrait Gallery Gala. Id.

at 5. Another shows Sajet reposting a NPG tweet about the unveiling of President Obama and

First Lady Michelle Obama’s portraits: “Tomorrow we’re unveiling portraits of President

@BarackObama and Mrs. @MichelleObama! Our courtyard will be closed until 2 p.m., and the

Café will be closed all day. Tune into the livestream on our website starting at 10 a.m., and see the

portraits for yourself on Feb. 13! #myNPG.” Id. at 14. Raven further asserts that the account was

created specifically for the NPG director and that Sajet posted under the handle “@NPGDirector”

until she changed the username in 2017 or 2018. Id. at ¶¶ 27, 29–31.

       Raven further asserts that he was prevented from interacting with the account, or “blocked”

in social media terms, by Sajet for his efforts to “expos[e] the corruption at the Smithsonian

National Portrait Gallery and Smithsonian in general.” Id. ¶ 1; see also id. ¶¶ 4–5, 39–42. Raven

alleges viewpoint discrimination in violation of the First Amendment and requests an injunction to

reverse the ban, along with litigation fees. Id. ¶¶ 1, 3–5, 39–42; see also id. at 19.

       Sajet does not contest that she blocked Raven from interacting with her Twitter account.

Instead, she moves to dismiss on the grounds that the complaint fails to plausibly allege state

action, a public forum, or viewpoint discrimination. 1



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          Sajet also argues that Raven lacks standing to sue her because he has not plausibly alleged
causation. Mot. to Dismiss at 4–5. According to Sajet, Raven has sued her in her official capacity,
which is akin to suing the NPG, but has failed to allege facts attributing liability to the institution.
Id.; see Compl. ¶ 9 (Sajet “is sued in her official capacity only.”). Dismissal is not warranted on
this ground. Similar cases against public officials for their decisions to block critics on social
media have successfully been brought against the defendant in their official capacity. See Knight
First Amend. Inst. at Colum. Univ. v. Trump, 928 F.3d 226 (2d Cir. 2019), cert. granted, judgment
vacated as moot sub nom. Biden v. Knight First Amend. Inst. at Colum. Univ., 141 S. Ct. 1220
(2021); Campbell v. Reisch, 986 F.3d 822 (8th Cir. 2021). Even assuming Sajet is correct, Raven
could simply move to amend the complaint to sue Sajet in her individual capacity. See e.g.,

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       It is well established that the “Free Speech Clause prohibits only governmental abridgment

of speech.” Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1928 (2019) (emphasis in

original). This case presents an emerging issue at the intersection of social media and free speech:

whether a public official engages in state action by blocking a critic from interacting with a

personal social media account used to share government-related information. The United States

Courts of Appeals are split on how to resolve this question and the Supreme Court has granted

certiorari in two cases where it is presented. See O’Connor-Ratcliff v. Garnier, 143 S. Ct. 1779

(U.S. Apr. 24, 2023) (cert. granted on appeal from Ninth Circuit); Lindke v. Freed, 143 S. Ct. 1780

(U.S. Apr. 24, 2023) (cert. granted on appeal from Sixth Circuit).

       The majority approach, applied in some form by the Second, Fourth, Eighth, and Ninth

Circuits, looks to whether the account has an official appearance and serves a governmental

purpose such that the account carries the authority of the state. See Garnier v. O’Connor-Ratcliff,

41 F.4th 1158, 1173 (9th Cir. 2022) (“[C]ourts should look to considerations such as ‘how the

official describes and uses the account,’ ‘to whom features of the account are made available,’ and

how members of the public and government officials ‘regard and treat the account.’” (quoting

Knight First Amend. Inst. at Colum. Univ. v. Trump, 928 F.3d 226, 236 (2d Cir. 2019), cert.

granted, judgment vacated as moot sub nom. Biden v. Knight First Amend. Inst. at Colum. Univ.,

141 S. Ct. 1220 (2021))); see also Davison v. Randall, 912 F.3d 666, 680–81 (4th Cir. 2019)

(public official’s blocking of a critic from her social media account was state action because her

account was used “as a tool of governance” to share government information and contained “the

trappings of her office,” including the official’s title and links to other official websites); Campbell


Garnier v. O’Connor-Ratcliff, 41 F.4th 1158 (9th Cir. 2022) (suing public officials in their
individual capacity for blocking critic on social media); see also Davison v. Randall, 912 F.3d 666
(4th Cir. 2019) (suing public official in her official and individual capacity for blocking critic on
social media); Lindke v. Freed, 37 F.4th 1199 (6th Cir. 2022) (same).


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v. Reisch, 986 F.3d 822, 826 (8th Cir. 2021) (“A private account can turn into a governmental one

if it becomes an organ of official business[.]”).

       The minority approach, applied by the Sixth Circuit, finds state action only if the public

official’s managing of the account is done “pursuant to his actual or apparent duties” or “using [the

official’s] state authority,” such as by relying on government resources or employees to operate the

account. Lindke v. Freed, 37 F.4th 1199, 1204 (6th Cir. 2022) (city manager’s blocking of a

constituent from social media was not state action because the account belonged to the individual

officer holder, the manager was not required to maintain the account by statute, and no government

resources or employees were used to manage the account). The D.C. Circuit has not had occasion

to weigh in on the proper test.

       Given the differing approaches by the circuit courts, the Court declines to decide

definitively at this juncture which test applies and whether Raven’s complaint satisfies it. That

being said, the complaint would likely survive a motion to dismiss under the majority approach. 2

Raven alleges, with supporting examples from Sajet’s account, that she uses the account to

distribute information and foster conversation about the NPG and to provide links to official

Smithsonian sites and other official government accounts. Compl. ¶¶ 3, 33–35. At this early stage

of the litigation, before the Court has been able to review the full scope of the account’s usage,

such allegations are likely sufficient to plausibly suggest that Sajet has used her account as a “tool

of governance” and that blocking critics from accessing the account could plausibly constitute state

action. The complaint is unlikely to satisfy the minority approach, however, as Raven has not




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         Raven’s pro se complaint must be “liberally construed” and “held to less stringent
standards than formal pleadings drafted by lawyers.” See Erickson v. Pardus, 551 U.S. 89, 94
(2007) (per curiam).


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alleged facts to suggest that managing the social media account is Sajet’s duty as director or that

she relies on government resources or employees to manage it. 3

          Accordingly, to avoid intrusive discovery and potentially unnecessary proceedings to

resolve this fact-intensive dispute, the Court will deny Sajet’s motion to dismiss without prejudice

and stay the case pending further guidance from the Supreme Court.

          For these reasons, it is hereby

          ORDERED that [5] Defendant’s Motion to Dismiss is DENIED without prejudice. It is

further

          ORDERED that the case is stayed until the Supreme Court issues rulings in O’Connor-

Ratcliff v. Garnier and Lindke v. Freed. It is further

          ORDERED that Defendant shall respond to the complaint within 30 days after the

Supreme Court’s rulings in those cases.

          SO ORDERED.




                                                             CHRISTOPHER R. COOPER
                                                             United States District Judge

Date: July 5, 2023


          3
         Aside from the “state action” question, which the Court defers deciding, Raven has
sufficiently alleged viewpoint discrimination. The complaint plausibly alleges that Raven was
blocked because he criticized Sajet and sent a tweet “exposing the corruption at the Smithsonian
National Portrait Gallery and Smithsonian in general.” Compl. ¶ 1. And because viewpoint
discrimination is illegal in public and nonpublic forums alike, that aspect of Raven’s complaint is
sufficiently pled regardless of how the Court classifies Sajet’s Twitter account. See Pleasant
Grove City, Utah v. Summum, 555 U.S. 460, 469–70 (2009) (viewpoint discrimination is
prohibited in traditional, designated, and limited public forums); Cornelius v. NAACP Legal Def.
& Educ. Fund, Inc., 473 U.S. 788, 806 (1985) (viewpoint discrimination prohibited in nonpublic
forums).




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